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         Exhibit 21
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From:             Mike Pitkow
To:               Watnick, David (POR)
Subject:          RE: Thank you
Date:             Friday, February 28, 2025 2:44:10 PM



From: Mark Lanterman <mlanterman@compforensics.com>
Sent: Friday, February 28, 2025 12:32 PM
To: Mike Pitkow <mpitkow@Springfieldpd.org>
Subject: Re: Thank you


   Caution: This is an external email and has a suspicious subject or content. Please take
   care when clicking links or opening attachments. When in doubt, contact your IT
   Department


Hi Mike. This fell off my radar. So sorry. I will get this back in the near future.



Mark Lanterman
Chief Technology Officer
ComputerForensic Services
800 Hennepin Avenue, 5th Floor
Minneapolis, MN 55403
952-924-9920 office
mlanterman@compforensics.com
www.compforensics.com

From: Mike Pitkow <mpitkow@Springfieldpd.org>
Sent: Thursday, February 27, 2025 2:26:29 PM
To: Mark Lanterman <mlanterman@compforensics.com>
Subject: RE: Thank you

Mark,

Just following up, will you be shipping your file back to me?

Thank you.

Mike

Michael E. Pitkow | Chief of Police
Springfield Township Police Department | Montgomery County
1510 Paper Mill Road | Wyndmoor, PA 19038
Phone: 215-836-1601 x1201 | Fax: 215-233-5018  
